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                               UNITED STATES BANKRUPTCY COURT
                                                      DISTRICT OF CONNECTICUT
                                                         HARTFORD DIVISION

In re: WAYNE D. ELDRIDGE                                                                                 Case No.: 16-21366-JJT-13

                Debtor(s)

                    CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Roberta Napolitano, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11
U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 08/26/2016.
2) The plan was confirmed on 10/31/2017.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on NA.
5) The case was completed on 02/28/2018.
6) Number of months from filing or conversion to last payment: 18.
7) Number of months case was pending: 25.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: NA.
10) Amount of unsecured claims discharged without full payment: .00.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
       Total paid by or on behalf of the debtor:           $54,972.00
       Less amount refunded to debtor:                            $.00
 NET RECEIPTS:                                                                  $54,972.00

 Expenses of Administration:
       Attorney's Fees Paid Through The Plan:                                       $.00
       Court Costs:                                                                 $.00
       Trustee Expenses and Compensation:                                      $4,695.16
       Other:                                                                       $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                 $4,695.16

 Attorney fees paid and disclosed by debtor:                    $.00




 Scheduled Creditors:
Creditor                                                      Claim             Claim              Claim        Principal           Interest
Name                                        Class             Scheduled         Asserted           Allowed      Paid                Paid
BSI FINANCIAL SERVICES                      Secured                      NA     88,128.62       40,822.14       40,822.14                  .00
CITIBANK NA                                 Secured            85,305.21        86,034.92          7,291.67      7,291.67                  .00
DISCOVER CARD SERVICES INC                  Unsecured          14,702.00        14,702.56       14,702.56        2,163.03                  .00




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                                  UNITED STATES BANKRUPTCY COURT
                                                       DISTRICT OF CONNECTICUT
                                                          HARTFORD DIVISION

In re: WAYNE D. ELDRIDGE                                                                                   Case No.: 16-21366-JJT-13

                 Debtor(s)

                     CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                       Claim               Claim          Claim           Principal           Interest
Name                                         Class             Scheduled           Asserted       Allowed         Paid                Paid
SETERUS, INC.                                Secured             80,461.20         85,265.75               .00           .00                 .00

 Summary of Disbursements to Creditors:                                                           Claim           Principal           Interest
                                                                                                  Allowed         Paid                Paid
 Secured Payments:
     Mortgage Ongoing:                                                                                 .00              .00                  .00
     Mortgage Arrearage:                                                                         48,113.81        48,113.81                  .00
     Debt Secured by Vehicle:                                                                          .00              .00                  .00
     All Other Secured:                                                                                .00              .00                  .00
 TOTAL SECURED:                                                                                  48,113.81        48,113.81                  .00

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                           .00           .00                 .00
     Domestic Support Ongoing:                                                                             .00           .00                 .00
     All Other Priority:                                                                                   .00           .00                 .00
 TOTAL PRIORITY:                                                                                           .00           .00                 .00

 GENERAL UNSECURED PAYMENTS:                                                                     14,702.56         2,163.03                  .00

 Disbursements:
        Expenses of Administration:                                                              $4,695.16
        Disbursements to Creditors:                                                             $50,276.84
 TOTAL DISBURSEMENTS:                                                                                                              $54,972.00

     12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
     foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
     The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                  Date:      09/12/2018                                      By:   /s/Roberta Napolitano
                                                                                   Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




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